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               IN THE UNITED STATES DISTRICT COURT
               FOR THE DISTRICT OF SOUTH CAROLINA

Roderick English, a/k/a Ralph K.        )       C/A No.: 1:19-246-JFA-SVH
Tripp Anderson, #301507,                )
                                        )
                   Plaintiff,           )
                                        )
       vs.                              )            REPORT AND
                                        )         RECOMMENDATION
South Carolina Department of            )
Corrections; U.S. Marshal Justice       )
Marshal Blackmun; Head Director         )
Brian Steriling; Classification         )
Kathy Guause, Attorney General          )
Donald Zulenka, and Shirley             )
Little, in their individual             )
capacities,                             )
                                        )
                   Defendants.          )
                                        )

      Roderick English (“Plaintiff”), proceeding pro se and in forma pauperis,

filed this complaint pursuant to 42 U.S.C. § 1983 alleging violation of his

constitutional rights by South Carolina Department of Corrections, United

States Marshal Justice Marshal Blackman, Head Director Brian Steriling,

Classification Kathy Guause, Attorney General Donald Zulenka, and Shirley

Little. Pursuant to the provisions of 28 U.S.C. § 636(b)(1) and Local Civ. Rule

73.02(B)(2)(e) (D.S.C.), the undersigned is authorized to review such

complaints for relief and submit findings and recommendations to the district

judge. For the reasons that follow, the undersigned recommends the district
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judge dismiss the complaint in this case without prejudice and without

issuance and service of process.

I.    Factual and Procedural Background

      Plaintiff alleges the South Carolina Department of Probation, Parole and

Pardon Services admitted on May 17, 2018, that he was required to serve 85%

of his sentence before he could be released. [ECF No. 1 at 5]. Plaintiff claims he

had served 85% of his sentence by November 13, 2018, and should have been

released. Id. Plaintiff seeks injunctive relief. Id. at 6.

II.   Discussion

      A.     Standard of Review

      Plaintiff filed his complaint pursuant to 28 U.S.C. § 1915, which permits

an indigent litigant to commence an action in federal court without prepaying

the administrative costs of proceeding with the lawsuit. To protect against

possible abuses of this privilege, the statute allows a district court to dismiss

a case upon a finding that the action fails to state a claim on which relief may

be granted or is frivolous or malicious. 28 U.S.C. § 1915(e)(2)(B)(i), (ii). A

finding of frivolity can be made where the complaint lacks an arguable basis

either in law or in fact. Denton v. Hernandez, 504 U.S. 25, 31 (1992). A claim

based on a meritless legal theory may be dismissed sua sponte under 28 U.S.C.

§ 1915(e)(2)(B). See Neitzke v. Williams, 490 U.S. 319, 327 (1989).


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      Pro se complaints are held to a less stringent standard than those

drafted by attorneys. Gordon v. Leeke, 574 F.2d 1147, 1151 (4th Cir. 1978). A

federal court is charged with liberally construing a complaint filed by a pro se

litigant to allow the development of a potentially meritorious case. Erickson v.

Pardus, 551 U.S. 89, 94 (2007). In evaluating a pro se complaint, the plaintiff’s

allegations are assumed to be true. Fine v. City of N.Y., 529 F.2d 70, 74 (2d

Cir. 1975). The mandated liberal construction afforded to pro se pleadings

means that if the court can reasonably read the pleadings to state a valid claim

on which the plaintiff could prevail, it should do so.           Nevertheless, the

requirement of liberal construction does not mean that the court can ignore a

clear failure in the pleading to allege facts that set forth a claim currently

cognizable in a federal district court. Weller v. Dep’t of Soc. Servs., 901 F.2d

387, 390–91 (4th Cir. 1990).

      B.    Analysis

      A complaint must contain “a short and plain statement of the claim

showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2). Although

the court must liberally construe a pro se complaint, the United States

Supreme Court has made it clear that a plaintiff must do more than make

conclusory statements to state a claim. See Ashcroft v. Iqbal, 556 U.S. 662,

677‒78 (2009); Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007).


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Rather, the complaint must contain sufficient factual matter, accepted as true,

to state a claim that is plausible on its face, and the reviewing court need only

accept as true the complaint’s factual allegations, not its legal conclusions.

Iqbal, 556 U.S. at 678‒79.

      Plaintiff’s complaint seeks the correction of his max-out or release date.

Although § 1983 provides access to a federal forum for claims of

unconstitutional treatment at the hands of state officials, the United States

Supreme Court has held that “habeas corpus is the exclusive remedy for a state

prisoner who challenges the fact or duration of his confinement and seeks

immediate or speedier release, even though such a claim may come within the

literal terms of § 1983.” Heck v. Humphrey, 512 U.S. 477, 481 (1991); see also

Preiser v. Rodriguez, 411 U.S. 475 (1973) (holding claims seeking immediate

or speedier release are not cognizable under § 1983 and must be brought in a

habeas corpus proceeding). Plaintiff’s complaint is therefore subject to

summary dismissal.1




1If Plaintiff wishes to challenge the duration of his confinement, he may obtain
habeas forms from the Clerk of Court and file a separate action. Plaintiff is
advised that a writ of habeas corpus under 28 U.S.C. § 2241 can only be sought
after full exhaustion of his remedies in the courts of the State of South
Carolina. See Picard v. Connor, 404 U.S. 270 (1971); Braden v. 30th Judicial
Circuit Court, 410 U.S. 484, 490–491 (1973).

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III.   Conclusion and Recommendation

       For the foregoing reasons, the undersigned recommends the court

dismiss the complaint without issuance and service of process.

       IT IS SO RECOMMENDED.



February 6, 2019                             Shiva V. Hodges
Columbia, South Carolina                     United States Magistrate Judge

  The parties are directed to note the important information in the attached
     “Notice of Right to File Objections to Report and Recommendation.”




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      Notice of Right to File Objections to Report and Recommendation

      The parties are advised that they may file specific written objections to
this Report and Recommendation with the District Judge. Objections must
specifically identify the portions of the Report and Recommendation to which
objections are made and the basis for such objections. “[I]n the absence of a
timely filed objection, a district court need not conduct a de novo review, but
instead must ‘only satisfy itself that there is no clear error on the face of the
record in order to accept the recommendation.’” Diamond v. Colonial Life &
Acc. Ins. Co., 416 F.3d 310 (4th Cir. 2005) (quoting Fed. R. Civ. P. 72 advisory
committee’s note).

      Specific written objections must be filed within fourteen (14) days of the
date of service of this Report and Recommendation. 28 U.S.C. § 636(b)(1); Fed.
R. Civ. P. 72(b); see Fed. R. Civ. P. 6(a), (d). Filing by mail pursuant to Federal
Rule of Civil Procedure 5 may be accomplished by mailing objections to:

                            Robin L. Blume, Clerk
                          United States District Court
                              901 Richland Street
                        Columbia, South Carolina 29201

       Failure to timely file specific written objections to this Report and
Recommendation will result in waiver of the right to appeal from a judgment
of the District Court based upon such Recommendation. 28 U.S.C. § 636(b)(1);
Thomas v. Arn, 474 U.S. 140 (1985); Wright v. Collins, 766 F.2d 841 (4th Cir.
1985); United States v. Schronce, 727 F.2d 91 (4th Cir. 1984).
